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1      Anna Y. Park, SBN 164242
       anna.park@eeoc.gov
2      Nakkisa Akhavan, SBN 286260
3      nakkisa.akhavan@eeoc.gov
       Taylor Markey, SBN 319557
4
       taylor.markey@eeoc.gov
5      Maurice Neishlos, NY SBN 5639265
6      maurice.neishlos@eeoc.gov
       Alisha Ansari, SBN 312875
7      alisha.ansari@eeoc.gov
8      Ella Hushagen, SBN 297990
       ella.hushagen@eeoc.gov
9      U.S. EQUAL EMPLOYMENT
10     OPPORTUNITY COMMISSION
       255 East Temple Street, Fourth Floor
11
       Los Angeles, CA 90012
12     Telephone: (213) 422-8396
13     Facsimile: (213) 894-1301
       E Mail: lado.legal@eeoc.gov
14
15     Attorneys for Plaintiff
       U.S. EQUAL EMPLOYMENT
16     OPPORTUNITY COMMISSION
17
                                     UNITED STATES DISTRICT COURT
18                                  CENTRAL DISTRICT OF CALIFORNIA
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       U.S. EQUAL EMPLOYMENT                      Case No.: 2:21-cv-07682-DSF-JEM
20     OPPORTUNITY COMMISSION,
21                                                JOINT RESPONSE
                       Plaintiff,                 TO COURT-REQUESTED
22                                                CLARIFICATIONS
               vs.
23
24     ACTIVISION BLIZZARD, INC.,
       BLIZZARD ENTERTAINMENT, INC.,
25     ACTIVISION PUBLISHING, INC., and
26     KING.COM, INC., and DOES ONE
       through TEN, inclusive,
27
28                     Defendants.




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1      ELENA R. BACA (SB# 160564)
       elenabaca@paulhastings.com
2      FELICIA A. DAVIS (SB# 266523)
3      feliciadavis@paulhastings.com
       PAUL HASTINGS LLP
4
       515 South Flower Street
5      Twenty-Fifth Floor
6      Los Angeles, California 90071-2228
       Telephone: (213) 683-6000
7      Facsimile: (213) 627-0705
8
       RYAN D. DERRY (SB# 244337)
9      ryanderry@paulhastings.com
10     PAUL HASTINGS LLP
       101 California Street
11
       Forty-Eighth Floor
12     San Francisco, California 94111
13     Telephone: (415) 856-7000
       Facsimile: (415) 856-7100
14
15     Attorneys for Defendants
       ACTIVISION BLIZZARD, INC.,
16
       BLIZZARD ENTERTAINMENT, INC.,
17     ACTIVISION PUBLISHING, INC., AND
18     KING.COM, INC.

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1              TO THE HONORABLE DISTRICT COURT JUDGE:
2              Plaintiff Equal Employment Opportunity Commission (“EEOC” or “Commission”)
3      and Defendants Activision Blizzard, Inc., Blizzard Entertainment, Inc., Activision
4      Publishing, Inc., and King.Com, Inc. (“Defendants” or “Activision Blizzard Entities”)
5      (collectively, the “Parties”) file this Joint Response to the Court’s Order Re: Hearing on
6      Consent Decree (Dkt. No. 76) in order to provide clarifications requested by the Court. In
7      addition to the edits to the Proposed Amended Consent Decree provided by the Court, the
8      Order identifies two substantive areas for further clarification: (1) the provision of the
9      Proposed Amended Consent Decree regarding segregation, as requested by claimants, from
10     an Eligible Claimant’s personnel file of any references to the Eligible Claimant’s
11     allegations of sexual harassment, pregnancy discrimination, or related retaliation (§ X.A),
12     and (2) the provision relating to claimants’ consultation with independent counsel before
13     signing a release of claims (§ IX.B.4.h). The Parties address each issue in turn.
14     1.      Documents in Claimant Personnel Files
15             As the Court found, the Proposed Amended Consent Decree submitted by EEOC
16     and Defendants relating to segregation of certain records “clearly do[es] not either require
17     or authorize destruction” of evidence. Dkt. No. 76 at 1-2. The Decree (at § X.A) is designed
18     to give Eligible Claimants the option to remove references to Eligible Claimants’
19     allegations of sexual harassment, pregnancy discrimination, and/or related retaliation from
20     their personnel files. This relief will flow only to Eligible Claimants who request it on the
21     Claim Form or in their subsequent discussions with EEOC. See Dkt. No. 50-3 (Claim
22     Form) at 16-17, Questions 41-42. The Claim Form1 states: “EEOC will consult with you
23     prior to instructing Activision Blizzard to remove any documents.” Thus, Eligible
24     Claimants will have the choice to decide whether any documents are segregated from their
25     own personnel files. Id.
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27     1
        Contrary to DFEH’s assertions to contrary in its Objections, Claim Forms completed by
28     potential claimants will not be provided to Defendants. See Claim Form, at 1; Dkt. No. 50-
       2 (Notice of Settlement) at 2.
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1              This is a claimant-specific provision typically proposed and negotiated by the EEOC
2      that is intended to ensure that potential adverse actions related to an Eligible Claimant’s
3      allegations of sexual harassment, pregnancy discrimination, or related retaliation will not
4      affect them in their future employment with Defendants or in their future careers, for
5      example, if they seek other work, promotions, unemployment benefits, or other situations
6      in which such documentation in their personnel files might adversely affect them.
7              The Parties provide the following responses to the Court’s questions:
8              1. “Will the employee be advised of these provisions (other than by reading
9                  the Consent Decree) and which documents will be segregated?” Dkt. No. 76
10                 at 2.
11                 The Parties Respond: Yes. The Claim Form explains the option of document
12                 removal from the Eligible Claimant’s personnel file and the forthcoming claims
13                 administration website will provide further details about this optional process.
14                 The proposed Notice states: “EEOC or the Claims Administrator may reach out
15                 to you by phone or email to ask questions and get further information from you
16                 if necessary.” Dkt. No. 50-2 (Notice of Settlement) at 2. As a practical matter,
17                 the EEOC will reach out to each person who marks ‘yes’ in response to Question
18                 41 (indicating they believe that there are objectionable documents that reference
19                 allegations of harassment, pregnancy discrimination or retaliation in their
20                 personnel file) to ask whether they consent to the EEOC requesting their
21                 personnel file from Defendants and to coordinate review of the documents with
22                 the Eligible Claimant. With respect to which documents will be segregated, the
23                 Proposed Amended Consent Decree states that “any references to the Eligible
24                 Claimant’s allegations of sexual harassment, pregnancy discrimination, or related
25                 retaliation or determined by the EEOC to be related to such allegations” are
26                 eligible to be removed. Dkt. No. 50-1 (Proposed Amended Consent Decree), §
27                 X.A.
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1              2. Is the employee able to obtain copies of the segregated documents? Dkt. No.
2                  76 at 2.
3                  The Parties Respond: Yes. The Proposed Amended Decree specifies that
4                  Defendants “must retain a record of any information removed from an Eligible
5                  Claimant’s personnel file pursuant to this subsection separately from Eligible
6                  Claimants’ personnel files consistent with the recordkeeping provisions
7                  contained in Section X.J. or otherwise required by law[.]” Dkt. No. 50-1 at X(A).
8                  The employee may request copies of the segregated documents.
9              3. “Can the employee object to segregation?” Dkt. No. 76 at 2.
10                 The Parties Respond: Yes. Documents that reference allegations of harassment,
11                 pregnancy discrimination or retaliation will not be segregated from personnel
12                 files unless the Eligible Claimant requests such relief. Dkt. No. 50-3, 16-17;
13                 Markey Decl. ¶¶ 3-4. There will be no wholesale removal of documents from
14                 personnel records; rather, documents will only be removed from personnel files
15                 at the affirmative request of the Eligible Claimant and upon review by the EEOC.
16                 If any such documents are removed from the personnel file, Defendants will
17                 segregate and retain them, as legally required under the Consent Decree and by
18                 applicable laws.
19             2. Independent Counsel will Advise Eligible Claimants on the Separate Release
20             The Court requested additional authority regarding whether the Eligible Claimants
21     will be required to obtain representation from private, independent counsel to obtain legal
22     advice regarding whether to sign the release of claims. Dkt. No. 76 at 3. As the Court noted
23     in its Order, the EEOC Regional Attorney’s Manual permits claimants to release claims
24     beyond those asserted in EEOC’s suit where the claimant is actually represented by private
25     counsel. Id. (citing Dkt. No. 35 at 11-12); see also Dkt. No. 24-6, Regional Attorney’s
26     Manual, Part 3, IV., A.2.d (“A claimant represented by private counsel can agree to a
27     broader waiver [of claims beyond those asserted in the Commission’s complaint], but in
28     the absence of such an agreement, a represented claimant’s recovery on the Commission’s

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1      claims cannot be conditioned on the release of any other claim(s). . . . [A] represented
2      claimant can agree to a broader waiver. However, this requires actual representation;
3      simply informing a claimant of his or her right to private counsel is not sufficient, even if
4      the claimant expressly declines the right.”); see, e.g., EEOC v. Hardee’s Food Sys., Inc.,
5      2005 WL 2333760, at *2 (W.D. Mo. Sept. 14, 2005) (consent decree requiring release of
6      claims and providing that Defendant will reimburse charging party for amount of attorneys’
7      fees incurred in consulting with private attorney prior to signing release).2
8              Notably, the EEOC will not enter into a consent decree that conditions a claimant’s
9      right to relief on conditions that are contrary to public policy, regardless of whether the
10     claimant is represented by private counsel. See Regional Attorney’s Manual, Part 3, IV.,
11     A.2.d (“no individual can be required as a condition of obtaining relief on a Commission
12     claim to agree to refrain from seeking future employment with the defendant or to keep the
13     terms of his or her recovery confidential. As with the waiver of separate claims, a
14     represented claimant can agree to such conditions, but his or her right to relief on the
15     Commission’s claims cannot be conditioned on such an agreement”). Thus, the release here
16     is narrowly tailored to the type of claims asserted in EEOC’s suit (sexual harassment,
17     pregnancy discrimination, and related retaliation), based on the same factual predicate,
18     does not limit a claimant’s right to pursue any other claims they may wish to assert, and
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        Moreover, as noted in earlier briefing, the Ninth Circuit has held that “[a]
21     settlement agreement may preclude a party from bringing a related claim in the
22     future ‘even though the claim was not presented and might not have been
       presentable in the class action,’ but only where the released claim is ‘based on the
23     identical factual predicate as that underlying the claims in the settled class action.’”
24     Hesse v. Sprint Co., 598 F.3d 581, 590 (9th Cir. 2010). The Ninth Circuit applied
       this reasoning to hold that a state court’s approval of a settlement agreement could
25     release not only the state law fraudulent billing claims before it, but also federal
26     RICO claims arising from the same billing practices. Howard v. America Online,
27     Inc., 208 F.3d 741, 746-48 (9th Cir. 2000). Here, the claims to be released not only
       share an identical factual predicate, but the release is also expressly limited to
28     analogue claims under state law.

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1      does not contain any provision that would otherwise limit their rights or violate public
2      policy.3
3              The Court noted the EEOC’s view that its Regional Attorney’s Manual permits
4      Eligible Claimants to enter into releases broader than Title VII provided they consult with
5      counsel prior to signing a release. Dkt. No. 76 at 3. The intent of the provision in the
6      Proposed Amended Consent Decree regarding consultation with counsel is that the Eligible
7      Claimants who wish to accept the Claim Share Amount will have consulted with
8      independent counsel. Eligible Claimants who wish to reject the Claim Share Amount need
9      not consult an attorney before rejecting the award. The payment of one hour of attorneys’
10     fees was negotiated to remove any barrier to receiving counsel. Similar provisions
11     requiring Defendants to pay for advice of private counsel for similar amounts of time have
12     been routinely approved by courts in EEOC consent decrees. See Dkt. No. 35 (EEOC’s
13     Opposition to DFEH’s Motion to Intervene) at 13, fn. 10 for citations.
14             Last, the Parties have concurrently filed revised versions of the Amended Consent
15     Decree, Notice, Claim Form and Release reflecting the line edits requested by the Court in
16     Dkt. No. 76.4 The Parties remain open and willing to provide any additional information
17     required by the Court. The Parties look forward to the entry of the Proposed Amended
18     Consent Decree.
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         DFEH has mischaracterized the release as a broad waiver of claims. In fact, the
25     release is limited to claims of sexual harassment, pregnancy discrimination and
26     related retaliation. Dkt. No. 50-4 (Proposed Release).
       4
         The Parties question whether the Court intended to request that Parties substitute
27     “United States” for “California” in the Notice and have not yet made that change.
28     See Dkt-76 at 3. That section of the Notice informs California employees of the
       DFEH lawsuit, which would not seem relevant to out-of-state employees.
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1                                                    Respectfully submitted,
2
3      Dated: March 25, 2022                         U.S. EQUAL EMPLOYMENT
                                                     OPPORTUNITY COMMISSION
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5
                                            By:      /s/ Taylor Markey
6                                                    TAYLOR MARKEY
7                                                    Attorneys for Plaintiff
8      Dated: March 25, 2022                         PAUL HASTINGS LLP
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10                                          By:      /s/ Elena Baca
                                                     ELENA R. BACA
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                                                     Attorneys for Defendants
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